
Akundell :
The respondent has determined a deficiency in income tax for the year 1921 in the amount of $250.69. The case was submitted on the pleadings.
FINDINGS OF FACT.
Petitioner was the owner of a one-half interest in certain real estate which was sold in 1921. Petitioner reported a profit from the sale of this property in the amount of $1,080.90. The respondent computed a profit to petitioner on this transaction in the amount of $3,836.87. The increase in the profit determined by the respondent over that reported by petitioner resulted from the respondent taking into consideration the allowance for depreciation on the property during the period petitioner was the owner of an undivided one-half interest in the same.

Judgment will be entered for the respondent.

Considered by Lansdon and Gkeen.
